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UNITED STATES DIsTRICT COURT F*LED EY
WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 JUN n PH l|: 00

.....__D.C.

 

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UNITED STATES 0F AMERICA \A§[-§H§EU:F§J EE<S%”N
-v- Case No. 1:05cr10038-002T

RICHARD ROBERSON

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local an while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Off`ice, defense counsel

and the U.S. Attorney in Writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroorn Courtroorn # on Day, Date, at Tirne.

ADD|T|ONAL COND|T|ONS OF RELEASE

in order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 execute a bond in the amount of $10,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $1,000.

0 report as directed by the Pretrial Services Office.
0 maintain or actively seek employment
0 refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random

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frequency and include urine testing, the wearing ofa sweat patch, a remote alcohof testing system, and/or any
form of prohibited substance screening or testing.

0 participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 participate in one of the following horne confinement program components and abide by all the requirements
of the program winch may include electronic monitoring or other location verification system. You shall pay
all or part of the cost of the program based upon your ability to pay as determined by Pretrial Services.

Curfew: You are restricted to your residence every day from 9:()0 p.m to 6:00 a.m. , or as
directed by the Pretrial Services Office.

0 other: provide proofof valid driver's license to Pretrial Services.

ADV|CE OF PENALT|ES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of irnprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
ofirnprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, ifthe offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense in addition, a failure to appear may result irr the forfeiture of any bond posted.

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ACKNOWLEDGMENT OF DEFENDANT " - '

l acknowledge that l am the defendant in this case and thatl am aware of the conditions ofrelease. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.

Signature of Defendant

Richard Roberson
122 Eldad Rd.
Trenton, TN 383 83
731-787-6636

DlRECTlONS TO THE UNlTED STATES MARSHAL

El Thc defendant is ORDERED released after processing

EI The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Of`ficer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

oate; nme 17, 2005 <:~<. /;Z_M/"°/`M,-

S. THOMA‘s/ANDERSON
UNITED sTATEs MAGisrRArE JUi:)GE

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DISTRIC COURT - wEsRNTE D"T'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

.lacl<son7 TN 38301

.lerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
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Honorable .l ames Todd
US DISTRICT COURT

